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IN THE UNITED sTATEs DISTRICT coURT mm BY D.Q
FOR THE wEsTERN DISTRICT cF TENNESSEE
wEsTERN DIVISION 95 JUL |9 PH ¢,¢ 33

 

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CHARLES ANDERSON CLARK,
Petitioner,
vs. No. 05-2330-Ml/V
DAVID MILLS,

Respondent.

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ORDER TRANSFERRING CASE PURSUANT TO 28 U.S.C. § 224l(d)

 

Petitioner Charles Anderson Clark, Tennessee Department
of Correction prisoner number 97297, an inmate at the West
Tennessee State Penitentiary (“WTSP”) in Henning, Tennessee, filed
a p;g §§ petition for a writ of habeas corpus pursuant to 28 U.S.C.
§ 2254 on May 3, 2005, and paid the habeas filing fee. The Clerk
shall record the Respondent as WTSP Warden David Mills.

Twenty-eight U.S.C. § 2241(d) provides:

Where an application for a writ of habeas corpus is
made by a person in custody under the judgment and
sentence of a State court of a State which contains two
or more Federal judicial districts, the application may
be filed in the district court for the district wherein
such person is in custody or in the district court for
the district within which the State court was held which
convicted and sentenced him and each of such district
courts shall have concurrent jurisdiction to entertain
the application. The district court for the district
wherein such an application is filed in the exercise of
its discretion and in furtherance of justice may transfer

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with Ftu|e 58 and/or 79(a) FHCP on Z’§t >j fig

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the application to the other district court for hearing
and determination.
It is the practice of the federal district courts in Tennessee that
all § 2254 petitions are to be heard in the division in which the
conviction was obtained.

In this petition, Clark is challenging a sentence that
was obtained in the Gibson County Circuit Court. Gibson County is
in the Eastern Division of the Western District of Tennessee. 28
U.S.C. § l23(c)(l).

Therefore, it is hereby ORDERED, pursuant to 28 U.S.C. §§
l406(a) and 2241(d), that this case is TRANSFERRED, forthwith, to

the Eastern Division of the Western District of Tennessee.

IT IS SO ORDERED this [C? day of July, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02330 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Charles Anderson Clark

WEST TENNESSEE STATE PENITENTIARY
097297

480 Green Chapel Road

P.O. BOX l 150

Henning, TN 38041

Honorable Jon McCalla
US DISTRICT COURT

